IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

RELEASE ORDER

TO: UNITED STATES MARSHAL

RE: UNITED STATES OF AMERICA VS. PANOS ANASTASIOU

CASE NO: 3:24-CR-00099-SLG-KFR

Defendant PANOS ANASTASIOU

has this date met the bail conditions indicated below and is ordered discharged from custody.

[] Released to , the third-party custodian(s).
Cl Paid cash bail in the amount of $

Cl Posted unsecured bond in the amount of $

L] Posted bond secured by C1 propertyor [) Surety inthe amount of $

with the Clerk of Court
[1 Surrendered passport to the U.S. Probation and Pretrial Services Office
C1 Other Defendant to be released on his own recognizance on Thursday,

September 19, 2024, after processing. Defendant must report to immediately to
U.S. Probation and pretrial services at 222 West 7" Ave., Anchorage, AK 99513

DATED at Anchorage, Alaska, this 19th day of September 2024.

wt Lolo. LE
Kyle  Reardén.

Original & 1 cy to U.S. Marshal

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